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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 KAIST IP US LLC,                     §
                                      §
                Plaintiff             §
                                      §
       v.                             §     NO. 2:16-cv-01314-JRG-RSP
                                      §
 SAMSUNG ELECTRONICS CO., LTD.;       §     JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS AMERICA,         §
 INC.; SAMSUNG SEMICONDUCTOR,         §
 INC.; SAMSUNG AUSTIN                 §
 SEMICONDUCTOR, LLC;                  §
 GLOBALFOUNDRIES INC.;                §
 GLOBALFOUNDRIES U.S. INC.; and       §
 QUALCOMM INC.,                       §
                                      §
                Defendants.
                                      §

      DEFENDANTS’ MOTION TO EXCLUDE OPINION AND TESTIMONY OF
             PLAINTIFF’S DAMAGES EXPERT ROY WEINSTEIN
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 I.     INTRODUCTION

        Plaintiff’s damages expert, Roy Weinstein, opines that Defendants owe a “minimum” of

             in damages in this case. Mr. Weinstein’s opinions are divorced from the patent-in-

 suit and violate basic principles of patent damages law articulated by the Federal Circuit and

 followed by this district. First, Mr. Weinstein employs a wildly inaccurate regression model

 based on cherry-picked data. Mr. Weinstein’s analysis yields a damages “coefficient” that is

 critical to his calculations, but also completely unreliable, demonstrably biased, and dramatically

 inflated. Here, Mr. Weinstein repeats flaws that caused his damages opinions to be criticized and

 stricken in another district. Second, Mr. Weinstein’s opinions are largely based on mobile

 devices rather than the smallest salable unit (the accused processors), an error that has previously

 led to his opinions being excluded in this Court. Third, Mr. Weinstein determines damages

 based on alleged incremental benefits of the patented technology that were, in actuality,

 calculated without regard to the actual patent-in-suit. Fourth, Mr. Weinstein’s damages opinions

 regarding Qualcomm violate black letter law regarding the territorial limitation of a U.S. patent

 and basic exhaustion principles. Fifth, Mr. Weinstein’s cost savings damages opinions

 improperly assume that all cost savings between two different nodes are entirely attributable to

 the patent-in-suit. For these reasons, Defendants bring this motion to exclude the opinions and

 testimony of Mr. Weinstein.

 II.    BACKGROUND

        The most probative evidence of damages in this case is an arm’s length, non-litigation,

 non-exclusive license agreement to the patent-in-suit taken by Intel, a larger player in the bulk

 FinFET market, for a lump sum payment of                  . Plaintiff’s damages expert, Mr.

 Weinstein, improperly dismisses this agreement and manufactures a running royalty damages




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 opinion that totals                      for only the period through trial. The path Mr. Weinstein

 takes to manufacture this opinion is unreliable and untethered to the patent-in-suit.

          Mr. Weinstein’s “minimum” damages number is composed of the following:

                Profit Damages:                  in “speed profit damages” (supposedly based on
                 the amount of smartphone, tablet, and SoC profits attributable to an increase in
                 processor speed) plus                 in “power efficiency profit damages”
                 (supposedly based on the amount of smartphone, tablet, and SoC profits
                 attributable to an increase in power efficiency); and

                Cost Damages:                in “cost savings damages” (supposedly based on the
                 amount of costs saved by the foundries in making 14 nm FinFET wafers).

 Ex. 1 at 8-10. Mr. Weinstein renders a number of flawed opinions in calculating these damages,

 which are summarized in the table below.

   Damages                               Mr. Weinstein’s Flawed Opinion
   Category
   Profit        A 1% increase in processor speed results in          in smartphone profits and
                       in tablet profits. Ex. 1 at 97-98.
   Profit        Damages can be calculated based on mobile device profits rather than the
                 smallest saleable unit. Id. at 5-10.
   Profit        The patent-in-suit provides a        increase in processor speed and a
                 increase in power efficiency. Id. at 98, 100.
   Profit        Qualcomm owes damages for chips it never possesses in the United States and
                 for which a royalty has already been paid. Id. at 3-4.
   Cost          The patent-in-suit provides a        cost savings to a foundry. Id. at 101-102.

          As discussed below, each of these opinions must be excluded under Daubert.

 III.     LEGAL STANDARD

          Fed. R. Evid. 702 provides that a witness who is “qualified . . . by knowledge, skill,

 experience, training, or education[,]” may provide opinion testimony if that testimony will assist

 the trier of fact and “(b) the testimony is based upon sufficient facts or data; (c) the testimony is

 the product of reliable principles and methods; and (d) the [witness] has reliably applied the

 principles and methods to the facts of the case.” Fed. R. Evid. 702(b)-(d). The witness must

 possess “specialized knowledge, skill, experience, training, or education in the relevant field[,] . .



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 .” in order to be qualified to express his expert opinion on the topic in issue. Christopherson v.

 Allied-Signal Corp., 939 F.2d 1106, 1110 (5th Cir. 1991). An expert should not be allowed to

 testify if she “is not qualified to testify in a particular field or on a given subject.” Wilson v.

 Woods, 163 F.3d 935, 937 (5th Cir. 1999).

         The Supreme Court in Daubert charged trial courts with the task of determining whether

 expert testimony under Rule 702 is “not only relevant, but reliable.” Daubert v. Merrill Dow

 Pharms., 509 U.S. 579, 589 (1993). Further, a court is not required to “’admit opinion evidence

 that is connected to existing data only by the ipse dixit of the expert[,]’” and may “rightfully

 exclude expert testimony where a court finds that an expert has extrapolated data, and there is

 ‘too great an analytical gap between the data and the opinion proffered.’” Burleson v. Tex. Dep’t

 Crim. Justice, 393 F.3d 577, 587 (5th Cir. 2004) (quoting GE v. Joiner, 522 U.S. 136, 146

 (1997)).

 IV.     ARGUMENT

         A.       Mr. Weinstein’s Profit Damages Opinions Should Be Excluded

                  1.      Mr. Weinstein’s Regression Opinions Should Be Stricken

                          a.      Mr. Weinstein’s Regression Analysis is Hopelessly Flawed
                                  Under Daubert

         Mr. Weinstein assigns a specific dollar value in profit for each 1% increase in processor

 speed for smartphones and tablets. Ex. 1 at 97-98, Ex. 2, ¶¶ 18, 50. Namely, Mr. Weinstein

 opines that a 1% increase in processor speed results in          in Samsung’s smartphone profits

 and          in tablet profits. Id. This one variable, which he calls the coefficient on processor

 speed, drives the majority of Mr. Weinstein’s                         damages estimate. Ex. 3, Tr. at

 104:12-18




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            ); see also id. at 107:8-11. Mr. Weinstein’s approach to reach this opinion involves

 using a specific methodology known as a “hedonic regression” to estimate a marginal “price”

 increase associated with changes in processor speed in Samsung’s smartphones and tablets. Ex.

 1 at 97-98, Ex. 2, ¶¶ 18, 50. Mr. Weinstein then assumes that there are no associated costs (other

 than paying royalties to KAIST IP), and thus concludes that all of these allegedly incremental

 revenues are incremental profits. Id. Hedonic regressions have well known limitations and

 potential serious flaws that can, under certain circumstances, lead to biased and unreliable

 results.1 Those serious flaws are clearly present in Mr. Weinstein’s modeling. Mr. Weinstein’s

 modeling, and the conclusions he draws from those models, is flawed and unreliable.

        This district has previously excluded under Daubert a flawed and arbitrary hedonic

 regression analysis performed by a damages expert where, as here, the “methodology relies on

 arbitrary assumptions that have no basis in the facts of this case or hedonic analysis in general.”

 Stragent, LLC v. Intel Corp., No. 6:11-cv-421, 2014 U.S. Dist. LEXIS 106167, at *14 (E.D. Tex.

 Mar. 6, 2014). Mr. Weinstein obtained data compiled from Strategy Analytics’ SpecTRAX and

 PriceTRAX databases related to pricing, specifications, and features of smartphones and tablets.

 Ex. 2, ¶ 6. The SpecTRAX database tracks over 300 different features and specifications of

 smartphones. Id. However, Mr. Weinstein’s regression model includes only nine features of

 smartphones out of the hundreds of features that were available in the database. Id., ¶ 9. Mr.

 Weinstein omits these many other features and specifications from this analysis with no

 explanation. Id. Indeed, Mr. Weinstein acknowledges that his model fails to account for key

 phone features such as storage capacity, LTE capability, screen resolution, secondary camera,

 1
  See, e.g., Jeffrey M. Wooldridge, Introductory Econometrics: A Modern Approach, 6th ed.
 Cengage Learning, 2016, p. 78, describing omitted variable bias.


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 reliability, or durability even though these are important to consumers. Ex. 3, Tr. at 110:3-114:3.

 As the Stragent Court recognized, “selecting variables is an important part of hedonic analysis . .

 . .” See Stragent, LLC v. Intel Corp., No. 6:11-cv-00421, 2014 U.S. Dist. LEXIS 194938, at *8

 (E.D. Tex. March 12, 2014) (clarifying prior order). Thus, where a damages expert like Mr.

 Weinstein fails to “explain the methodology he used to select [the] variables[,]” his opinions are

 unreliable and inadmissible. Id. at *6 (excluding opinions under Daubert). Moreover, the fact

 that Mr. Weinstein has no technical expertise regarding the examined features further warrants

 excluding his regression analysis. See id. at *8-9 (“Given the absence of information about Dr.

 Vellturo’s variable selection method, his admitted lack of [technical] expertise raises significant

 doubts about the reliability of his analysis, and even his capability to conduct such analysis. This

 provides a reason for excluding both Dr. Vellturo’s 42% figure and his entire hedonic

 analysis.”). Mr. Weinstein should be well aware of the standard articulated in Stragent because

 another Court has excluded his opinions as being “no different than the methodology rejected by

 Judge Dyk in Stragent, LLC v. Intel Corp.” Good Tech. Corp. v. MobileIron, Inc., No. 5:12-cv-

 05826-PSG, 2015 U.S. Dist. LEXIS 87347, at *22 (N.D. Cal. July 5, 2015) (“Here, Weinstein

 similarly counts up the ten Gartner inclusion criteria, assigns equal value to each one, and uses

 the resulting 30 percent to apportion MobileIron’s profits. Weinstein does no investigation into

 whether any of the criteria is more important than others, or how strongly each criterion is tied to

 the patents. This is insufficient.”).

         Mr. Weinstein did not test his model for missing variables. However, as Defendants’

 expert has shown, introducing just one of the omitted variables dramatically alters the results,

 confirming the instability and extreme bias present in Mr. Weinstein’s model. Namely,

 Defendants’ expert added RAM as an independent variable in the regression for smartphone




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 prices and the coefficient estimate for the processor speed variable dropped from                 ,

 or              of the coefficient used by Mr. Weinstein as the key driver of his profit split

 damages. Ex. 9 at 18. Making this change alone, Mr. Weinstein’s minimum royalties for

 Samsung and Qualcomm would be reduced by approximately                        . Id. The vast

 majority of the hundreds of other omitted variables were never tested by Mr. Weinstein despite

 the fact that, as discussed below, Mr. Weinstein had the data in his possession yet never

 produced it to the Defendants.

        The data used by Mr. Weinstein for his regression also reflects retail prices of

 smartphones and tablets that are            higher than Samsung’s actual selling prices. Compare

 Becker Exhibit SLB-14 (Galaxy S6 retail price averaged $692.95 in 2015, $556.21 in 2016) with

 Weinstein Ex. 11.5 (actual selling price:          in 2015,           in 2016). Leaving aside the

 fact that this retail-to-wholesale discrepancy alone improperly inflates Mr. Weinstein’s claim to a

 share of Samsung’s (as opposed to Walmart’s or Amazon’s) profits, Mr. Weinstein has no basis

 and no analysis to argue that the selling prices achieved by Samsung, although lower, respond in

 the same way to changes in processor speed (or any other feature). This is a fatal disconnect in

 Weinstein’s model that cannot be corrected by simply arguing that one can ask the jury to give

 his damages a             haircut to adjust for the wholesale-to-retail price difference.

        In view of the Daubert factors, Mr. Weinstein’s regression opinions must be stricken.

 Mr. Weinstein’s opinions have not and cannot be tested, the type of regression he uses is subject

 to a known critical bias, and his error rate is wildly unacceptable (as illustrated by Dr. Becker’s

 sample calculation). See Stragent, LLC, 2014 U.S. Dist. LEXIS 106167, at *8 (“Key

 considerations are: whether the expert’s theory ‘can be (and has been) tested’; whether ‘the

 theory or technique has been subjected to peer review and publication’; the ‘known or potential




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 rate of error’; and the 'general acceptance' . . . of a relevant scientific community.”) (alteration in

 original) (quoting Daubert at 593-94).

                         b.      Mr. Weinstein’s Regression Opinions Should Be Stricken
                                 Based on Failure To Disclose the Underlying Data

         Fed. R. Civ. P. 26(a)(2)(B)(ii) requires an expert report contain “the facts or data

 considered by the witness in forming them . . . .” Plaintiff and Mr. Weinstein have failed to

 comply with respect to Mr. Weinstein’s regression analysis. Plaintiff served Mr. Weinstein’s

 expert report on February 5, but did not disclose the underlying data from Strategy Analytics that

 Mr. Weinstein relied upon. On February 8, Defendants informed Plaintiff of the deficiency and

 demanded all data used for the regression analysis in native form, including statistical code. Ex.

 4. Plaintiff failed to respond. On February 15, Defendants again demanded the raw data from

 Plaintiff, noting that they had already been prejudiced by the delay. Id. Subsequently, 10 days

 after Mr. Weinstein’s report was served, Plaintiff produced a data file containing only 14 of the

 variables from the 300+ available from SpecTrax. Ex. 5. Plaintiff represented that “all the data

 reviewed or relied upon was produced.” Ex. 4.

         To attempt to alleviate the prejudice to Defendants without involving the Court, Plaintiff

 agreed that Defendants would be given an additional week to serve a supplemental rebuttal

 report on regression. Ex. 4. However, after Defendants served the supplemental report on

 March 9, Plaintiff attempted to back out of the agreement for no apparent reason other than to try

 to prevent Dr. Becker from being able to testify regarding the gross flaws in Mr. Weinstein’s

 regression analysis. Id. Further, during Mr. Weinstein’s March 14 deposition, he revealed that

 his firm has all the data for the hundreds of omitted variables and has not produced it. Ex. 3,

 Tr. at 107:12-108:15 (“




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                                       .”).

          Plaintiff represented that it had produced all of the data relied upon by Mr. Weinstein. As

 noted above, Mr. Weinstein has testified that he relied on only the nine features included in the

 one specification of his model that results in his     billion damages claim. Thus, both Mr.

 Weinstein and Plaintiff have confirmed that Mr. Weinstein did not test his hedonic regression

 model for the existence of and extent of missing variable bias, a well-known issue. This alone

 demonstrates conclusively that Mr. Weinstein’s regression model should be excluded. To the

 extent Plaintiff argues that Mr. Weinstein did test his regression, Plaintiff’s continued

 withholding of relevant data regarding the hundreds of omitted variables, and gamesmanship in

 regard to Defendants’ supplemental regression report are further grounds for excluding his

 model.

                 2.      Mr. Weinstein Does Not Tie Damages To The Smallest Saleable Unit
                         or Properly Apportion Damages

          “[T]he governing rule is that the ultimate combination of royalty base and royalty rate

 must reflect the value attributable to the infringing features of the product, and no more.”

 Ericsson, Inc. v. D–Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014). Accordingly, district

 courts regularly exclude damages opinions that are not tied to the smallest saleable unit or

 properly apportioned. Indeed, Mr. Weinstein’s opinions have previously been excluded by this

 district for this very reason. See VirnetX Inc. v. Cisco Systems, Inc., No. 6:10-CV-417, slip op. at

 4 (E.D. Tex. Mar. 1, 2013) (excluding portions of Roy Weinstein’s opinion, finding that “Mr.



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 Weinstein made no sincere attempt to tie VirnetX’s damages to the smallest saleable patent-

 practicing unit.”).

         The asserted patent in this case relates to a specific type of transistor. Ex. 7. Plaintiff’s

 infringement contentions focused on a single Exynos processor. Ex. 8. Nevertheless, Mr.

 Weinstein calculates damages using the retail price of smartphones and tablets. Ultimately, Mr.

 Weinstein concludes that Plaintiff is entitled to          of damages in smartphone and tablet

 profits. Ex. 1 at 5-10. Rather than working from a base of wafers (or even chips), Weinstein

 starts all the way downstream at the retail sale of a finished smartphone or tablet and purports to

 divine the influence of a single transistor-focused patent on the selling price of a smartphone. Id.

 These opinions are not tied to the smallest saleable unit and should be excluded.

         Plaintiff cannot claim that Mr. Weinstein has apportioned out unpatented features.

 Notably, Mr. Weinstein’s offers a per-device running royalty that changes depending on whether

 the device is a bulk FinFET chip, a smartphone, or a tablet, even though all three devices contain

 the same accused technology. See Ex. 3, Tr. at 89:11-15



                                                                 ). For example, Mr. Weinstein’s

 opinion is that Samsung should pay           in damages per smartphone,           in damages per

 tablet, and       per accused chip. Ex. 1 at 107-108. Thus, Mr. Weinstein increases his royalty

 for an accused chip more than seven fold if the identical chip is incorporated into a smartphone.

 Plainly, Mr. Weinstein’s calculations capture more than the patented features and must be

 excluded.




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                3.      Mr. Weinstein’s Profit Damages Rely On “Benefits” That Are Not
                        Tied To The Asserted Patent

        It is a bedrock principle that a damages expert’s testimony must be tied to asserted patent.

 See VirnetX, Inc. v. Cisco Systems, Inc., 767 F.3d 1308, 1327 (Fed. Cir. 2014) (“[A] reasonable

 royalty analysis requires a court to . . . carefully tie proof of damages to the claimed invention’s

 footprint in the market place.”) (alteration in original); Commonwealth Scientific & Indus.

 Research Org. v. Cisco Sys., Inc., 809 F.3d 1295, 1304 (Fed. Cir. 2015) (“patent holder should

 only be compensated for the approximate incremental benefit derived from his invention . . . .”).

 Mr. Weinstein offers opinions that run afoul of this basic rule and, accordingly, should be

 excluded.

        Mr. Weinstein’s profit damages calculations assume that the patent-in-suit provides a

      increase in processor speed and            increase in power efficiency. Ex. 1 at 98-100. Mr.

 Weinstein received these numbers from Mr. Witt and states they represent the “incremental

 benefits provided by the Patent-in-Suit.” Id. at 84; see also Ex. 3, Tr. at 83:6-84:16

                                                                   . However, as explained in a

 separate Daubert motion being filed concurrently, Mr. Witt’s opinions have nothing to do with

 the patent-in-suit. Indeed, Mr. Witt did not analyze the patent-in-suit or discuss it in his report,

 much less compare the incremental benefit of the patented technology to the prior art. See

 Daubert Motion Against Witt. Rather, Mr. Witt assumed that all speed and power efficiency

 advancements between a prior planar node and 14 nm bulk FinFET node are attributable to the

 patent-in-suit. See id. Because this assumption is not based on actual analysis of the patent (and

 is divorced from reality), Mr. Witt’s estimates are unreliable. Accordingly, Mr. Weinstein’s use

 of Mr. Witt’s estimates is likewise inappropriate, and those opinions must be excluded.




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                4.      Mr. Weinstein’s Damages Opinions Regarding Qualcomm Contradict
                        Basic Patent Law

        The vast majority of Mr. Weinstein’s                  in profit damages as to Qualcomm is

 based on chips made by Globalfoundries and Samsung in the United States and sold to

 Qualcomm overseas. Ex. 1 at 3-4



                                 ). This violates basic principles of territorial limits and patent

 exhaustion. Mr. Weinstein’s opinions are all based on direct infringement (i.e., making, selling,

 using, importing, or offering under 35 U.S.C. § 271). Id. at 29; Ex. 3 at 23:14-17



                  . But Qualcomm cannot be a direct infringer with respect to chips it never

 possesses in the United States. See 35 U.S.C. § 271(a) (“whoever without authority makes, uses,

 offers to sell, or sells any patented invention, within the United States or imports into the United

 States any patented invention during the term of the patent therefor, infringes the patent.”).

        Further, Mr. Weinstein opines that Samsung and Globalfoundries also owe damages for

 these same chips before they are sold to Qualcomm overseas. Ex. 1 at 3-4.2 Thus, Mr.

 Weinstein’s opinion of a second royalty from Qualcomm violates the rule against double

 recovery from a downstream customer. See In re Nintendo of Am., Inc., 756 F.3d 1363, 1366

 (Fed. Cir. 2014) (“if Secure Axcess were to collect royalties from Nintendo, this would preclude

 suit against the Retailers.”); Cellular Communications Equipment LLC v. Apple Inc., No. 6:14-

 cv-251, slip op. at 5 (E.D. Tex. August 26, 2016) (“[I]f [the manufacturer] is found liable and


 2
  As listed in his damages summary, Mr. Weinstein opines that Samsung and Qualcomm both
 owe damages for chips Samsung makes for Qualcomm in the U.S. (items 1b and 3a). Likewise,
 Mr. Weinstein opines that Globalfoundries and Qualcomm both owe damages for chips
 Globalfoundries makes for Qualcomm in the U.S. (items 2a and 3a).


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 [the patentee] does collect damages from [the manufacturer], [the patentee] cannot then in turn

 collect damages from the [customer-reseller], because [the patentee] cannot receive a double

 recovery for the same sales.”).

        Therefore, Mr. Weinstein’s opinions regarding Qualcomm contradict basic patent law

 and should be excluded.

        B.      Mr. Weinstein’s Cost Savings Damages Opinions Should Be Excluded

        As discussed above, a damages expert’s testimony must be tied to asserted patent. See

 VirnetX, 767 F.3d at 1327; Commonwealth Scientific, 809 F.3d at 1304. As with his profit

 damages opinions, Mr. Weinstein’s cost savings opinions violate this rule and should be

 excluded. Mr. Weinstein’s cost savings damages calculations assume the patent-in-suit provides

 a      cost savings to a foundry, in comparison to a 28 nm node. Ex. 1 at 101-102. Here, Mr.

 Weinstein relies on Dr. Kuhn’s opinion that 28 nm technology is the next-best non-infringing

 alternative. Id. at 101. However, Mr. Weinstein’s calculations assume that all costs saved in

 moving from a 28 nm planar node to a 14 nm bulk FinFET node are attributable solely to the

 patent-in-suit. Dr. Kuhn never offers this opinion (and, indeed, such an opinion would be

 incredible on its face). Rather, Dr. Kuhn estimates that there was

                                                         Ex. 10 at 210 (emphasis added). And, more

 importantly, Dr. Kuhn’s estimate is based on a general industry change from 28 nm to 14 nm,

 and is not tied to the patent-in-suit. Therefore, it follows that Mr. Weinstein’s cost savings

 estimate is unreliable and should be excluded.

 V.     CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court grant their

 motion to strike and exclude Mr. Weinstein’s opinions regarding regression, damages based on




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 smartphone and tablet profits, the overstated benefits of the patent-in-suit, damages against

 Qualcomm, and alleged cost savings damages.



 Dated: March 16, 2018                            Respectfully submitted,


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                                                     LLC; GLOBALFOUNDRIES INC.;
                                                     GLOBALFOUNDRIES U.S. INC.; and
                                                     QUALCOMM INCORPORATED



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed

 electronically in compliance with Local Rule CV-5 on this 16th day of March, 2018. As of this

 date, all counsel of record have consented to electronic service and are being served with a copy

 of this document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).

                                                     /s/ Christopher W. Kennerly
                                                     Christopher W. Kennerly


                              CERTIFICATE OF CONFERENCE

        Pursuant to Local Rules CV-7(h) and (i), counsel for Defendants met and conferred with

 counsel for the Plaintiff on February 27 and 28 and March 8, 14, 15, and 16, 2018. No

 agreement could be reached and these discussions have conclusively ended in an impasse,

 leaving an open issue for the Court to resolve.

                                                     /s/ Christopher W. Kennerly
                                                     Christopher W. Kennerly




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                      CERTIFICATE OF AUTHORIZATION TO SEAL

        I hereby certify that under Local Rule CV-5(a)(7), the foregoing document is filed under

 seal pursuant to the Court’s Protective Order entered in this matter.

                                                   /s/ Christopher W. Kennerly
                                                   Christopher W. Kennerly




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